     Case 2:22-cv-00184-LCB-SRW Document 85 Filed 05/03/22 Page 1 of 6




                  UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER;
BRIANNA BOE, individually and on behalf
of her minor son, MICHAEL BOE; JAMES
ZOE, individually and on behalf of his minor
son, ZACHARY ZOE; MEGAN POE,
individually and on behalf of her minor            Civil Action No.
daughter, ALLISON POE; KATHY NOE,                  2:22-cv-00184-LCB
individually and on behalf of her minor son,
CHRISTOPHER NOE; JANE MOE, Ph.D.;                  Hon. Liles C. Burke
and RACHEL KOE, M.D.,

      Plaintiffs,
v.

KAY IVEY, in her official capacity as
Governor of the State of Alabama; STEVE
MARSHALL, in his official capacity as
Attorney General of the State of Alabama;
DARYL D. BAILEY, in his official capacity
as District Attorney for Montgomery County;
C. WILSON BAYLOCK, in his official
capacity as District Attorney for Cullman
County; JESSICA VENTIERE, in her official
capacity as District Attorney for Lee County;
TOM ANDERSON, in his official capacity as
District Attorney for the 12th Judicial Circuit;
and DANNY CARR, in his official capacity
as District Attorney for Jefferson County,

      Defendants.


         JOINT MOTION TO DISMISS DEFENDANT KAY IVEY
     Case 2:22-cv-00184-LCB-SRW Document 85 Filed 05/03/22 Page 2 of 6




      COME NOW the parties and jointly move to dismiss Defendant Kay Ivey, in

her official capacity as Governor of the State of Alabama (“Defendant Ivey”). In an

effort to streamline this action, Plaintiffs agree to dismiss Defendant Ivey without

prejudice from this action on the following conditions:

         1. Defendant Ivey and her employees, agents, and successors in office

            agree to be bound by the terms of any Temporary Restraining Order or

            Injunction issued against the Attorney General or any other Defendants

            in this action to the extent such relief restricts or prohibits enforcement

            of the Alabama Vulnerable Child Compassion and Protection Act.

         2. Defendant Ivey and her employees, agents, and successors in office

            shall only be bound by injunctive, declaratory, or other relief falling

            within the preceding paragraph to the extent such relief remains binding

            against the Attorney General or any other Defendants in this action.

         3. Defendant Ivey and her employees, agents, and successors in office

            shall not be bound by any relief that is later reversed, vacated, set aside,

            or otherwise limited as to the Attorney General or any other

            Defendants.

      WHEREFORE, PREMISES CONSIDERED, based upon the following

agreed conditions, the parties respectfully request that Defendant Kay Ivey be

dismissed from this action, without prejudice.
Case 2:22-cv-00184-LCB-SRW Document 85 Filed 05/03/22 Page 3 of 6




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                               2
Case 2:22-cv-00184-LCB-SRW Document 85 Filed 05/03/22 Page 4 of 6




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                               3
Case 2:22-cv-00184-LCB-SRW Document 85 Filed 05/03/22 Page 5 of 6




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                               4
     Case 2:22-cv-00184-LCB-SRW Document 85 Filed 05/03/22 Page 6 of 6




                            CERTIFICATE OF SERVICE


      I certify that on May 3, 2022, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF filing system, which will provide notice of such filing

to all counsel of record.


                                        /s/ Melody H. Eagan
                                        Attorney for Plaintiffs




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